Case 1:21-cr-00591-CKK Document 39 Filed 05/23/22 Page 1 of 7
Case 1:21-cr-00591-CKK Document 39 Filed 05/23/22 Page 2 of 7
Case 1:21-cr-00591-CKK Document 39 Filed 05/23/22 Page 3 of 7
Case 1:21-cr-00591-CKK Document 39 Filed 05/23/22 Page 4 of 7
Case 1:21-cr-00591-CKK Document 39 Filed 05/23/22 Page 5 of 7
Case 1:21-cr-00591-CKK Document 39 Filed 05/23/22 Page 6 of 7
Case 1:21-cr-00591-CKK Document 39 Filed 05/23/22 Page 7 of 7
